UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

 

BETSY ACKERSON,

Plaintiff,
v.

THE RECTOR AND VISITORS OF THE
UNIVERSITY OF VIRGINIA,

Serve: Case No.:

William H. Goodwin, Jr.
Rector

800 E. Canal Street

Suite 1900

Richmond, Virginia 23219,

Defendants. _

 

 

CIVIL COMPLAINT FOR MONE'I`ARY AND EQUITABLE RELIEF

Plaintiff Betsy Ackerson (“Ackerson” or “Plaintift”), by and through undersigned
counsel, files this suit against the Rector and Visitors of the University of Virginia (“UVA”) for
violations of The Equal Pay Act of 1963, Title IX of the Education Amendments of 1972, Title
Vll of the Civil Rights Act of 1964, and The Rehabilitation Act of 1973.

Introduction

l. UVA violated the Equal Pay Act When it subjected Ackerson to unequal pay for
comparable Work performed by male colleagues

2. UVA violated the Equal Pay Act When it retaliated against Ackerson for
complaining about her unequal pay and seeking to have her complaints redressed

3. UVA violated Title IX of the Education Amendments When it paid Ackerson less

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than male colleagues who perform comparable work based on her sex.

4. UVA violated Title Vll of the Civil Rights Act of 1964 when it subjected
Ackerson to disparate treatment, including unequal pay for the work she performed, based on her
sex.

5. UVA violated the Rehabilitation Act when it retaliated against Ackerson for
informing UVA of her medical conditions, her need for medical leave and accommodations, and
her use of leave.

Jurisdiction and Venue

 

6. This Court has jurisdiction over the subject matter of this jurisdiction pursuant to
28 U.S.C. § 1331, because the action arises under the laws of the United States of America,
namely the Equal Pay Act, Title IX, Title VII, and the Rehabilitation Act.

7. Ackerson has exhausted the administrative remedies available to her under Title
Vll of the Civil Rights Act of 1964 with the Equal Employment Opportunity Commission and
the United States Department of Justice Civil Rights Division.

8. The United States Department of Justice Civil Rights Division issued Ackerson a
Notice ofRight to Sue on January 12, 2017.

9. This Court has personal jurisdiction over UVA because it has substantial and
deliberate contacts with the Commonwealth of Virginia, and it conducts business in the
Commonwealth of Virginia.

10. Venue in this district and division is appropriate pursuant to 28 U.S.C. § 1391
because UVA has significant and deliberate contacts with this district and division.

1 1. Venue in this district and division is also appropriate pursuant to 28 U.S.C. §

1391 because it is the district and division where the substantial majority of the events giving rise

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to these claims occurred.
Facts

A. Dr. Betsy Ackerson Has Signii“lcant Experience Working in the Field of Higher
Education.

12. Dr. Betsy Ackerson, Ph.D., is a 44 year old woman and is a resident of

Charlottesville, Virginia.

13. Ackerson earned a Ph.D. in Higher Education Administration from the University
of Virginia in 2009.
14. Ackerson has significant experience working in the field of higher education.

15. ln December 2012, Ackerson accepted the position of Project Manager for
Strategic Planning in the Office of the Executive Vice President and Provost at UVA and worked
as a de facto staff member of the Office of the President.

16. While she was a doctoral student at UVA, Ackerson worked as an Academic
Affairs Associate in the Office of the Executive Vice President and Provost at UVA.

17. From 2009-2012, Ackerson served as a Co-Principal of a Catholic higher
education start-up in the Republic of lreland.

18. Ackerson served as the Editor of Higher Education Quarlerly at the Center for the
Study of Higher Education from 2004 to 2005.

19. From 2002 to 2004, Ackerson worked at The College of William and l\/Iary’s
l\/lason School of Business in Williamsburg, Virginia as a Manager of its Office of Public
Relations and Communications.

20. Ackerson also served at William and Mary as the Senior Corporate Gifts Offlcer.

21. While at William and l\/lary, Ackerson served as Editor of the School OfBusl`ness

Magazl`ne.

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22. And from 1995 to 1996, Ackerson served as an Admissions Counselor at Sweet
Briar College in Sweet Briar, Virginia.

B. Ackerson Began Working at UVA in the Position of Project Manager for Strategic
Planning in Late 2012.

23. In August 2012, Ackerson placed a phone call to Nancy Rivers (“Rivers”), Chief
of Staff for the President, with whom she had previously worked at UVA.

24. Rivers told Ackerson she believed there Were two high presidential priority
projects at UVA which might be of interest to Ackerson: one involving the UVA strategic plan
and the other involving financial planning.

25. Ackerson was qualified for both jobs because she holds a Ph.D. in higher
education and a l\/Iaster’s of Business Administration.

26. Ackerson told Rivers she would be interested in either position, and Rivers
recommended Ackerson pursue the strategic plan position because that project was of higher
priority for UVA.

27. UVA finally posted the job on November 7, 2012, and Ackerson applied on
November 8, 2012.

28. Ackerson accepted the position of Project Manager for Strategic Planning with
UVA in December 2012, which she held until l\/lay 2016 when UVA changed her position and
duties.

29. The position was originally a one year appointment at a salary of $70,000 per
year.

30. However, Rivers told Ackerson that a substantial amount of work and value
would be generated from the strategic plan work, which would position Ackerson for a

permanent job at UVA.

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C. Ackerson Worked Under the Supervision of James Milton Adams in Her Position at

UVA Until Adams’ Retirement in May 2016, and She Frequently Had to Perform

Much of Adams’ Work for Him.

31. From the time Ackerson accepted the job in December 2012, Ackerson’s
supervisor has been J ames Milton Adams (“Adams”) until Adams retired in May 2016,

32. Ackerson and Adams previously worked together when Ackerson worked at UVA
during her doctoral program.

33. Shortly before Ackerson began working at UVA in 2012, UVA transitioned
Adams from Vice Provost of Academic Affairs to Senior Vice Provost.

34. Regarding the Strategic Planning Project, Adams reported to both the Provost and
the University President. Thus, Ackerson effectively reported to the Provost and President of the
University regarding strategic planning.

35. As early as spring 2013, Ackerson noticed that Adams did not carry his share of
the workload on the Strategic Planning Project.

36. In fact, Ackerson regularly, routinely, and frequently received questions from
former Provost John Simon (“Simon”) to the effect of: “What does Milton Adams do'?”

37. On one occasion, in about July 2014, UVA President Teresa Sullivan (“Sullivan”)
made a statement to Ackerson to the effect of “I think we all know that Milton relies on you to
get all the work done.”

38. Despite the fact that Ackerson had to perform many of the duties assigned to
Adams, Adams earned a salary of between $200,000 and $250,000.

39. In or about March 2013, Adams told Ackerson that she needed to find a new job.

40. Yet prior to this statement, Ackerson had received nothing but positive feedback

from Adams on her performance

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41. When Ackerson asked for an explanation, Adams told her that his statement was
based simply on her position being temporary.

D. In 2013, Adams Hired Charlie Feigenoff to Work on the Strategic Plan. UVA Paid
Feigenoff to Perform Many Duties That Ackerson Already had Within Her Purview
and Paid Feigenoff at a Higher Rate Than Ackerson.

42. Yet only about two weeks later, Adams announced that he planned to hire a writer
to carry out the writing of the Strategic Plan.

43. Adams proposed this idea during a meeting between Ackerson, Rivers7 President
Sullivan, and himself.

44. Ackerson did not oppose the idea during the meeting, although she did later
remind Adams in private that such duties fell within her purview and were actually the duties
that the University had hired her to perform.

45. Adams subsequently hired his friend, Charlie Feigenoff, to write the strategic
plan, at a rate of about $125.00 per hour.

46. Feigenoff is a male in his sixties, and he is a personal friend of Adams.

47. This initial proposal was to cost about $25,000.

48. By contrast, Ackerson continued to earn $70,000 per year, which equates to an
hourly rate of $35.00 per hour.

49. Feigenoff quickly exceeded the $25,000 initial proposal.

50. Yet during this time, Ackerson frequently had to brief Feigenoff on the strategic
plan, despite the fact that UVA paid him significantly more than it paid her.

51. Justin Thompson, a male who previously held a very similar position to

Ackerson’s, had the title of Associate Provost when he held the position, and the University paid

him at least 3100,000 per year.

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E. In Summer 2013, UVA Expanded the Scope of Ackerson’s Duties, and Ackerson
First Complained About Her Unequal Pay.

52. In summer 2013, UVA widened the scope of Ackerson’s job responsibilities to
include financial forecasting beyond her work on the strategic plan development process.

53. At about the same time, UVA assigned former Associate Vice President for
Budget and Financial Planning, Mark Hampton (male), to financial forecasting duties.

54. Ackerson and Hampton did equal work on these duties, but UVA paid Hampton a
salary of at least $185,000.

55. After Hampton left UVA in 2014, Ackerson continued to do the work by herself

56. Around that time, Ackerson met separately with Rivers and Adams about a
potential increase in her salary, yet her salary remained the same.

57. Ackerson also told Simon around the same time that there was an issue of
inequity regarding her salary.

58. Ackerson learned a short time later that Rivers, Adams, Simon, and President
Sullivan met in May 2013.

59. At that meeting, Adams told the group that he had suggested to Ackerson that she
look for a new job.

60. Simon became upset by this news and actually met with Ackerson later, told
Ackerson that he wanted her to work directly for him, and he even asked Ackerson to put
together a job description for a new position working under him.

61. However, subsequent discussions about a new positon for Ackerson went

nowhere.

F. Ackerson Complained to UVA Again in November 2013 About Her Unequal Pay.

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62. ln November 2013, Ackerson met again with Adams and Rivers to discuss her
position, the upcoming end of her contract, and her concerns about the low salary UVA paid her.

63. Rivers and Adams agreed that UVA had paid Ackerson too little money for the
work she performed for UVA.

64. ln fact, Rivers asked Ackerson for a new salary range. Ackerson suggested a
range of$120,000 - $150,000.

65. Rivers agreed that Ackerson’s proposed salary range was reasonable, given the
amount and level of work she performed

66. At that time, Rivers said UVA would commit to renew the contract for another
year at a higher salary if Adams agreed.

67. UVA later extended Ackerson’s one-year contract, however the extension did not
come with a higher salary as promised.

68. Ackerson also never signed a new agreement with UVA in 2013,

G. In Late 2013, Ackerson Began to Suffer Severe Exhaustion. This Severe Exhaustion
Eventually Led to a Diagnosis of Chronic Fatigue Syndrome, Which Caused
Ackerson to Take Medical Leave.

69. ln about December 2013, Ackerson began to suffer from severe exhaustion, to the

point that she nearly collapsed at work.

70. Ackerson eventually received a diagnosis of chronic fatigue syndrome in or about
late March 2014.

71. As a result of the health issues she suffered, Ackerson had to take medical leave.

72. Following treatments, Ackerson slowly returned to work on a limited basis for

about two hours per day in June 2014.

73. Gradually, over the next six (6) weeks, Ackerson increased her workload by about

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two hours per day every other week until she returned fully to a normal work schedule.

H. While Ackerson Was Out of the Office for Medical Leave, UVA Stripped Ackerson
of Her Private Offlce and Personal Printer.

74. But Ackerson only found more stress and problems upon her return to her job at
UVA.

75. Ackerson discovered that little to no work had been performed on the Strategic
Plan while she had been out of the office.

76. In particular, there was considerable work needed on implementation of the plan,
including all communication efforts, which had not been carried out in Ackerson’s absence.

77. Ackerson also returned to UVA to find herself without a private office.

78. In an email exchange that Ackerson had with Rivers during Ackerson’s medical
leave in March 2014, Rivers told Ackerson that UVA had assigned a new employee temporarily
to sit in Ackerson’s office, but Rivers assured Ackerson that her office would be restored to her
upon her return from medical leave.

79. Yet, while Ackerson was out on medical leave, UVA assigned her former office
to David Wolcott (male), the Associate Vice Provost for Academic Accreditation.

80. UVA promised Ackerson that she would be reassigned to an private office, yet
she remains to this day assigned to a cubicle in an open area.

81. This lack of a private office also places extra burdens on Ackerson in carrying out
her duties since she often needs to have confidential communications regarding UVA’s strategic
plans.

82. Due to her job duties, Ackerson often needs to participate in phone conversations
that involve sensitive information, which makes her assignment to a cubicle in an open area

totally inappropriate and physically taxing on Ackerson.

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83. Additionally, Ackerson frequently has to meet with others in person as part of her
duties

84. Now, in order to conduct these meetings, Ackerson has to find available
conference rooms

85. In this time period UVA also removed Ackerson’s access to a personal printer,
which required her to walk long distances to retrieve printed documents, thereby aggravating her
medical condition.

I. Ackerson Once Again Complained of Her Unequal Pay in 2014, Following UVA’s
Institution of a New Salary Classification Structure.

86. In July 2014, UVA adopted a new salary classification structure.

87. Thus, in the fall of 2014, well after Ackerson’s return from medical leave,
Ackerson once again had separate discussions with Rivers and Adams to discuss her low salary.

88. On or about October 9, 2014, Ackerson sent a memorandum to Rivers and Adams
which described her previous conversations with them about her pay rate, as well as their
previous agreements that her salary level was inappropriate

89. Rivers and Adams told Ackerson that because she challenged her classification,
the University would require her to undergo a review process

J. When Ackerson Wrote a NeW Job Description as Part of an HR RevieW Process,
Adams Refused to Fully Cooperate in the Process.

90. Ackerson participated in this process, which is not formal and is not governed by
any UVA policy.
91. UVA Human Resources instructed Ackerson to write a job description which

“captured everything” about her position in order to prove that the University had misclassified

her.

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92. After Ackerson completed the description, she had to submit it to Adams for
approval, pursuant to an informal and undocumented process in place at UVA.

93. After she received Adams’ approval, Ackerson sent the job description to HR in
or about November 2014,

94. In December 2014, UVA once again extended Ackerson’s contract by one year.

95. This contract extension from UVA came only two days before Ackerson’s
contract would have otherwise expired.

96. Like it had done in 2013, UVA kept Ackerson’s salary at the same level, and
Ackerson did not sign a new agreement.

97. Also in late 2014 and early 2015, Ackerson engaged in unrelated meetings with
Adams with the goal of negotiating a new three-year contract with UVA.

98. As part of these meetings and negotiations, Adams purportedly worked on
developing a new job description for Ackerson.

99. During the negotiations, Adams informed Ackerson that President Sullivan had
approved the new three-year contract in January 2015, but Simon had not supported it.

100. As well, HR learned during its investigation of Ackerson’s misclassification
review that Ackerson and Adams were in discussions about a new job description and contract.

101. HR decided, during the process, that the new contract and Ackerson’s previous
complaints, which were separate but had happened in close proximity, were related.

102. HR told Ackerson during the review process that it was ultimately Adams who
needed to decide what the appropriate job description for Ackerson was in order for the review
process to proceed

103. Adams never acted on this decision.

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K. When Ackerson Stated that She Would Raise Concerns About Her Unequal Pay
Outside of Her Reporting Structure, Adams Threatened Her Employment.

104. Ackerson later asked Adams about his role in the decision making process for her
job descriptions, and Adams denied knowing that the decision was his responsibility.

105. Adams also blamed Simon for failing to discuss Ackerson’s proposed new
contract with President Sullivan.

106. Ackerson became frustrated by these repeated delays, and she told Adams during
one meeting in February 2015 that it was her intention to ask for a meeting between Sullivan,
Simon, and Adams to resolve the issue of Ackerson’s unequal pay.

107. Adams told Ackerson that she risked losing her job if she mentioned the issue of
unequal pay or the new three-year contract to anyone, including Simon and President Sullivan.

108. Adams’ tone during the meeting when he made the comment was different than
the tone he usually used with Ackerson, and Ackerson took his statement as a threat.

109. Adams also failed to present Ackerson with the new contract, which President
Sullivan had approved

L. In February 2015, Adams Issued Ackerson a Performance Review that Rated Her

“Highly Effective” Rather Than “Exceptional,” and Adams Could Not Provide

Justification for the Evaluation When Ackerson Asked Him to do so.

110. After raising her concerns of unequal pay, on or about February 26, 2015, Adams
issued Ackerson a performance evaluation with a lower rating of “highly effective” as compared
to the highest possible rating of “exceptional.”

111. On or about April 14, 2015, Ackerson met with Adams to discuss her
performance evaluation and seek Adams’ advice on how she might improve her performance

112. During this meeting on April 14, 2015, Adams could provide no legitimate basis

for providing Ackerson with a rating of “highly effective” as compared to “exceptional.”

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1 13. Adams told Ackerson during this meeting that her work was “A+,” but that if he
gave her the highest possible rating, then it would mean her goals were set too low and would
leave her no room to improve Adams also told Ackerson that he never gave the highest rating to
anyone

1 14. When Ackerson requested during the meeting that Adams provide her with input
as to how she might improve her performance, Adams was unable to offer any concrete
suggestions

115. And only a year earlier, in Ackerson’s annual review for 2013, Adams had indeed
issued Ackerson a rating of “exceptional,” despite his contention in 2015 that he never issued
such ratings

M. In June 2015, UVA Once Again Refused to Restore Ackerson’s Private Office.

116. On June 29, 2015, Ackerson met with Linda Birckhead (“Birckhead”), within the
President’s office at UVA, to discuss the possibility of UVA reassigning Ackerson to a personal
office

117. At the time of this meeting, roughly 50 percent of the offices in the building in
which Ackerson sought to be reassigned an office, Madison Hall, were vacant.

118. Birckhead spoke to Rivers about the possibility of reassigning Ackerson a private
office in Madison Hall.

1 19. Birckhead then informed Ackerson that UVA would not reassign her to a private
office

N. After Ackerson complained more formally and With the assistance of counsel about

unequal pay, UVA increased Ackerson’s salary twice in 2016 and assigned her to a

role With increased duties in March 2016, yet UVA still did not take steps to increase

her pay to the appropriate level of pay or title.

120. Beginning in October 2015, Ackerson formally complained about her unequal

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pay, through counsel, by initiating contact with the General Counsel’s office of UVA.

121. Ackerson has continued to engage UVA formally through counsel since that time
and has made demands for equal pay,

122. ln March 2016, UVA named Ackerson as Assistant Vice Provost, gave her a new
job description, and increased her salary to $95,000.

123. The new job description encompassed many duties that Ackerson had already
been performing

124. UVA did not consult with Ackerson before assigning her to this new position, nor
did it hold a meeting with her to discuss the contents of the new job description.

125. Around the same time, UVA reaffirmed that it would not reassign Ackerson to a
private office.

126. Milton Adams retired in May 2016 from his position as Senior Vice Provost,

127. After Adams’ departure, UVA assigned Anda Webb (“Webb”), Vice Provost for
Administration and Chief of Staff, to be Ackerson’s direct supervisor.

128. Ackerson eventually met with Webb on or about June 6, 2016 to discuss
Ackerson’s job description and Ackerson’s duties in general.

129. lt was apparent from the meeting that Webb did not fully grasp either the extent
of Ackerson’s duties or the importance to UVA of the work that Ackerson did for UVA.

130. Webb also told Ackerson during the meeting that Webb and Adams never
discussed the scope of Ackerson’s work prior to Adams’ retirement.

131. Later, in August 2016, UVA increased Ackerson’s salary to $110,000 per year.

132. UVA did not provide Ackerson with any explanation for the increase to her

salary.

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133. ln or about mid-December 2016, UVA asked Ackerson to take on additional
duties, including taking on the Legislative Liaison duties left vacant by the departure of David
Wolcott.

134. Around the same time, UVA offered to assign Ackerson to a semi-private office
in Booker House, a different building on campus Since this did not solve Ackerson’s issue with
needing a private office, it was not an attractive or acceptable offer.

O. UVA Continues to Pay Ackerson Significantly Less Than it Pays Male Employees
Who Perform Substantially the Same Work Under Substantially the Same
Conditions as Ackerson.

135. UVA currently pays Ackerson a salary of $1 10,000 per year.

136. By contrast, about two months after it hired Ackerson, UVA hired Robert F.
German (“German”) as a Proj ect Director to work on the other high presidential priority project
Rivers mentioned to Ackerson in mid-2012 and paid him a starting salary of about $150,000.

137. UVA currently pays German about $159,429 annually, though German took on a
position in the University Library as Program Director for the Academic Preservation Trust in
2014.

138. UVA pays Sean Jenkins (“Jenkins”), Senior Assistant to the President, a salary of
about $159,000 per year.

139. UVA pays Jonathan Bowen (“Bowen”), Senior Assistant to the President, a salary
of about $157,000 per year.

140. UVA pays Eduardo Lorente (“Lorente”), Associate Vice Provost for Budget and
Financial Planning, a salary of roughly $126,100 per year.

141. UVA paid David Wolcott (“Wolcott”), Associate Vice Provost for Academic

Accreditation, a salary of roughly $1 13,600 per year before his departure

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142. And UVA paid Mark Hampton (“Hampton”), former Associate Vice President for
Budget and Financial Planning, a salary of about $185,000 for performing comparable work to
Ackerson prior to his departure

143. German, Jenkins, Bowen, Lorente, Wolcott, and Hampton are all men.

Q_M
The Equal Pay Act of 1963 (“EPA”)
29 U.S.C. § 206(d)
Unequal Pay ~ Willful

144. Ackerson incorporates and realleges the allegations in the foregoing paragraphs as
though alleged fully herein.

145. Ackerson is an “employee” as defined by 29 U.S.C. § 203(e)(2)(ii).

146. Defendants are “employers” as defined by 29 U.S.C. § 203(d).

147. Ackerson is a female

148. Ackerson’s comparators Robert German, Sean Jenkins, Jonathan Bowen, Eduardo
Lorente, David Wolcott, Charlie Feigenoff, and Mark Hampton are all male

149. Ackerson performs work that requires at least equal, if not more, skill, effort, and
responsibility as those of her male colleagues

150. Ackerson works under similar conditions as her male colleagues

151. Ackerson’s comparable male colleagues receive compensation in a range of
$113,000 to $185,000.

152. Ackerson performed many of the duties assigned to Adams, yet UVA has
compensated and continues to compensate her at a significantly lower rate than Adams

153. UVA fails to compensate Ackerson comparable to employees who: are of the

opposite sex, work in the same establishment as Ackerson, perform work equal or comparable to

that of Ackerson, retain positions that require equal skill, effort and responsibility as Ackerson,

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and perform their work under similar conditions as Ackerson.

154. UVA’s violation of the Equal Pay Act in regard to Ackerson was willful and
reckless

155. UVA knowingly and willfully set Ackerson’s pay at a level substantially below
that of her male colleagues

156. UVA ignored Ackerson’s repeated complaints about the disparity in her pay from
2013 through the present.

157. After Ackerson complained formally through counsel in October 2015 about her
unequal pay, UVA knowingly and willfully continued to pay Ackerson at a level substantially
below that of her male colleagues who perform comparable work.

158. As a direct and proximate cause of UVA’s violations of the Equal Pay Act,
Ackerson has suffered significant monetary damages

COUNT II
The Equal Pay Act of 1963 (“EPA”)
29 U.S.C. § 215(a)(3)
Retaliation

159. Ackerson incorporates and realleges the allegations in the foregoing paragraphs as
though alleged fully herein.

160. Ackerson is an “employee” as defined by 29 U.S.C. § 203(e)(2)(ii).

161. Defendants are “employers” as defined by 29 U.S.C. § 203(d).

162. Ackerson engaged in protected activity under the Equal Pay Act in summer 2013
when she complained to Nancy Rivers, James Milton Adams, and John Simon about the
disparity in her pay.

163. Ackerson engaged in protected activity under the EPA in November 2013 when

she complained to Rivers and Adams again about the disparity in her pay,

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164. Ackerson engaged in protected activity under the EPA in October 2014 when she
sent a memorandum to Rivers and Adams challenging her pay classification and salary level.

165. Ackerson engaged in protected activity under the EPA in November 2014 and
December 2014, as well as February 2015, when she engaged in UVA’s internal review process
regarding her job classification

166. Ackerson engaged in protected activity under the EPA in February 2015 when she
informed Adams that she intended to seek a meeting with President Sullivan and John Simon to
address her classification and salary complaints and the inequity of her pay as compared to men
at UVA.

167. Ackerson engaged in protected activity under the EPA beginning in October
2015, when she formally complained of her unequal pay through counsel and demanded that
UVA take steps to remedy her equal pay.

168. UVA took an adverse employment action against Ackerson when it stripped
Ackerson of her private office and printer in summer 2014 after she complained about the
disparity in her pay.

169. UVA, through Adams, took an adverse employment action against Ackerson in
February 2015 when Adams refused to give Ackerson the new three-year contract and
corresponding promotion and salary increase that had already been approved by President
Sullivan.

170. UVA, through Sullivan, Simon, and Rivers, knew that Ackerson had been
approved for a new position and also knew that UVA, through the actions of Adams, never gave
Ackerson this new position description

171 . Despite this knowledge, none of these individuals took steps to rectify the fact

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that Ackerson did not receive the new three-year contract, which had been approved

172. UVA, through Adams, took an adverse employment action against Ackerson
when, in February 2015, Adams threatened Ackerson’s job if she sought a meeting with
President Sullivan and John Simon to address her complaints about her job classification and
salary inequity.

173. UVA, through Adams, took an adverse employment action against Ackerson
when Adams failed to give Ackerson a new position description for which she had been
approved

174. UVA took adverse employment actions against Ackerson when it reaffirmed its
actions of unequal pay twice in 2016 when it raised Ackerson’s salary to levels that were still
substantially lower than her male colleagues and assigned her more duties

175. UVA took an adverse employment action against Ackerson when it reaffirmed in
2016 that it would not assign her to a private office

176. These actions served to deter Ackerson from seeking to fully redress her rights
under the EPA.

177. As a result of UVA’s unlawful retaliation in violation of the Equal Pay Act,
Ackerson has suffered damages

COUNT III
Title IX of the Education Amendments of 1972 (“Title IX”)
20 U.S.C. § 1681, et seq.
Unequal Pay and Disparate Treatment Based on Sex

178. Ackerson incorporates and realleges the allegations in the foregoing paragraphs as

though alleged fully herein.

179. UVA is an “educational institution” within the meaning of 20 U.S.C. § 1681(0)

because it is a public university that receives financial assistance from the United States federal

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government

180. Ackerson is an employee of UVA and is a woman.

181. UVA willfully paid Ackerson a substantially lower salary than it paid her male
colleagues who: performed substantially the same work, had the same level of responsibility and
skill as Ackerson, and worked under substantially the same conditions

182. UVA took this action against Ackerson based, in whole or in part, on her sex.

183. As a result of UVA’s unlawful discrimination in violation of Title IX, Ackerson
has suffered damages

COUNT IV
Title VII of the Civil Rights Act of 1964 (“Title VII”)
42 U.S.C. § 2000e, et seq.
Discrimination Based on Sex

184. Ackerson incorporates and realleges the allegations in the foregoing paragraphs as
though alleged fully herein.

185. Ackerson is female

186. Ackerson is an “employee” within the meaning of 42 U.S.C. § 2000e(f).

187. UVA is an “employer” within the meaning of 42 U.S.C. § 2000e(b).

188. At all times relevant to this complaint, Ackerson was fully qualified for the
position she held at UVA.

189. UVA discriminated against Ackerson based on her sex when it paid male
employees significantly higher wages than Ackerson, and those male employees: performed
substantially the same work as Ackerson, had essentially the same level of skill and
responsibility as Ackerson, and worked under substantially the same conditions as Ackerson.

190. UVA took these actions against Ackerson based, in whole or in part, on her sex.

191. As a result of UVA’s unlawful sex discrimination against Ackerson, Ackerson has

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suffered damages
COUNT V
Rehabilitation Act
29 U.S.C. § 794, et seq.
Retaliation

192. Ackerson incorporates and realleges the allegations in the foregoing paragraphs as
though alleged fully herein.

193. Ackerson is an employee within the meaning of the Rehabilitation Act.

194. UVA is an employer within the meaning of the Rehabilitation Act, 29 U.S.C. §
794(b)(2(A), because it is a public university which receives financial assistance from the United
States federal government.

195. Ackerson has or had a disability within the meaning of the Rehabilitation Act
because her diagnosed chronic fatigue syndrome substantially impaired her ability to work, walk,
and perform daily tasks

196. Ackerson engaged in protected activity under the Rehabilitation Act because she
informed UVA that she suffered from chronic fatigue syndrome, informed UVA that she would
need to use medical leave for chronic fatigue syndrome in 2014, and sought an accommodation
to work an adjusted schedule after returning to from leave

197. UVA retaliated against Ackerson for engaging in protected activity under the
Rehabilitation Act when it removed her private office and personal printer during her absence for
her disability.

198. UVA retaliated against Ackerson, through Adams, for engaging in protected
activity under the Rehabilitation Act when, in February 2015, Adams refused to give Ackerson

the new contract, thereby denying her a promotion or an increase in salary.

199. UVA retaliated against Ackerson, through Adams, for engaging in protected

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activity under the Rehabilitation Act, when on February 26, 2015, Adams issued Ackerson a
downgraded performance rating of “highly effective” as compared to “exceptional.”

200. UVA retaliated against Ackerson, through Adams, for engaging in protected
activity under the Rehabilitation Act when, on April 14, 2015, Adams refused to provide
Ackerson with a legitimate explanation for her downgraded performance evaluation rating of
“highly effective” as compared to “exceptional.”

201. UVA retaliated against Ackerson when, on June 29, 2015, Linda Birckhead
informed Ackerson that Ackerson would not be returned to a private office

202. UVA affirmed its conduct of denying Ackerson a return to a private office twice
in 2016, both in March and December.

Praycr for Relief
203. For violations of the Equal Pay Act, 29 U.S.C. § 206(d), Ackerson demands such

legal and equitable relief as provided by 29 U.S.C. § 216(b), including but not limited to the

following:
a. Promotion;
b. Economic damages including front and back pay;
c. Liquidated damages;
d. Reasonable attorneys’ fees and costs; and
e. Any other relief this Court may deem just and equitable

204. For violations of the Equal Pay Act, 29 U.S.C. § 21 5(a)(3), Ackerson demands
such legal and equitable relief as provided by 29 U.S.C. § 216(b) which may effectuate the
purposes of 29 U.S.C. § 215(a)(3), including but not limited to:

a. Promotion;

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Economic damages, including front and back pay;

Liquidated damages;

Reasonable attorneys’ fees and costs; and

Any other relief this Court may deem just and equitable to effectuate

the purposes of 29 U.S.C. § 215(a)(3).

205. For violations of Title IX of the Education Amendments Act of 1972, 20 U.S.C. §

1681, et seq., Ackerson demands such legal and equitable relief as this Court may deem just,

including but not limited to:

3..

b.

g.

Promotion;

Back pay;

Front pay;

Compensatory damages;

Punitive damages;

Reasonable attorneys’ fees and costs; and

Any other relief the Court may deem just or equitable

206. For violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et

seq., Ackerson demands such legal and equitable relief as the Court may deem just, including but

not limited to:

Promotion;

Front pay;

Back pay;
Compensatory damages;

Punitive damages;

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f. Reasonable attomeys’ fees and costs; and

g. And any other relief the Court may deem just or equitable

207. For violations of the Rehabilitation Act, 29 U.S.C. § 794, et seq., Ackerson

demands such legal and equitable relief as the Court may deem just, including but not limited to:

a.

b.

Assignment of a permanent private office;
Front pay;

Back pay;

Compensatory damages;

Punitive damages;

Reasonable attorneys’ fees and costs; and

And any other relief the Court may deem just or equitable

Ju§y Demand

Plaintiff Betsy Ackerson demands a jury trial for all claims on which a jury trial is

appropriate

Betsy Ackerson
By Counse! /-

 
  

 

 

 

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